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  IT IS ORDERED as set forth below:



  Date: March 3, 2022
                                                         _____________________________________
                                                                    Lisa Ritchey Craig
                                                               U.S. Bankruptcy Court Judge

 _______________________________________________________________


                     UNITED STATES BANKRUPTCY COURT
                      NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

IN THE MATTER OF:                           :      CASE NUMBER
                                            :
CASSANDRA JOHNSON LANDRY,                   :      18-55697-LRC
                                            :
                                            :      IN PROCEEDINGS UNDER
                                            :      CHAPTER 7 OF THE
       DEBTOR.                              :      BANKRUPTCY CODE

                          ORDER REGARDING DISCHARGE

       The above-styled Chapter 7 case is before the Court sua sponte.                 Section

727(a)(11) of the Bankruptcy Code provides that the Court shall not enter a discharge in an

individual Chapter 7 case if the debtor failed to complete an instructional course

concerning personal financial management described in § 111 and is not exempt from the

requirement under § 109(h)(4). 11 U.S.C. § 727(a)(11). Further, Rule 4004(c) provides

that the Court shall, on expiration of the times fixed for objecting to discharge and for filing

a motion to dismiss the case under Rule 1017(e), grant the discharge unless the debtor has
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failed to file with the Court a statement of completion of a course concerning personal

financial management.

       The times fixed for objecting to discharge and for filing a motion to dismiss the case

have expired, but Debtor has not filed a statement of completion of the personal financial

management course (Form 23, Debtor's Certification of Completion of Instructional

Course Concerning Personal Financial Management). Therefore, the Court cannot

discharge the case.

        Accordingly, it is

       ORDERED that unless, on or before April 15, 2022, Debtor files Debtor’s Form 23

indicating completion of the post-petition financial management course, the Clerk is

DIRECTED to close this case without the entry of a discharge.

       The Clerk is directed to serve this Order on Debtor and the Chapter 7 Trustee.

                                 END OF DOCUMENT




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